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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION

ROBERT COTTINGHAM,

            Plaintiff,

-vs-                                             CASE NO.: 5:17-CV-00452-KKC

CITIGROUP, INC.

            Defendant.
                                         /

               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          COMES NOW the Plaintiff, ROBERT COTTINGHAM, by and through his undersigned

attorneys, and hereby files this Notice of Voluntary Dismissal Without Prejudice of the captioned

matter.

          Dated this 1st day of June, 2018.

                                                    Respectfully submitted,

                                                    /s/Amy Ferrera, Esquire
                                                    Amy Ferrera, Esquire
                                                    (Admitted Pro Hac Vice)
                                                    Florida Bar #: 15313
                                                    MORGAN & MORGAN, TAMPA, P.A.
                                                    201 N. Franklin Street, 7th Floor
                                                    Tampa, FL 33602
                                                    Tele: (813) 577-4738
                                                    Fax: (813) 559-4846
                                                    amferrera@forthepeople.com
                                                    Counsel for Plaintiff
   Case: 5:17-cv-00452-KKC Doc #: 9 Filed: 06/01/18 Page: 2 of 2 - Page ID#: 34




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 1st, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which sent electronic notice of such to all

parties of record.


                                                  /s/Amy Ferrera, Esquire
                                                  Amy Ferrera, Esquire
                                                  (Admitted Pro Hac Vice)
                                                  Florida Bar #: 15313
